Case: 1:15-cr-00485 Document #: 481 Filed: 07/17/18 Page 1 of 10 PagelD #:4296

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
UNITED STATES OF AMERICA Case No. 15 CR 00485-6
V.
PHILLIP DIAZ Judge Virginia M.

DEFENDANT PHILLIP DIAZ’S EXHIBIT IN SUPPORT OF HIS

POSITION REGARDING SENTENCING

Defendant PHILLIP DIAZ, by and through his attorney Patrick S. Aguirre

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hereby submits his Exhibit in support of his Position regarding Sentencing,

DATED: July 17, 2018 Respectfully submitted,

/s/Patrick S. Aguirre

PATRICK 8S. AGUIRRE

Law Offices of Patrick S. Aguirre
7847 Florence Ave., STE 107
Downey, CA 90240

Tel: (562) 904-4337

Fax: (562) 928-3999

Attorney for Defendant

Phillip Diaz
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July 1, 2018

Yvette Zelaya
9425 Borson St.
Downey, CA 902420

Dear Judge Kendali,

Fm writing this letter to you in regards to Phillip Diaz, my brother, who is facing sentencing before your stand
soon. | am the oldest of 4 and have been that second mom to Phillip since birth. 1 know Phillip better than
anyone else. | sincerely hope that this letter will help reflect Phillip’s character ina light you haven't seen.

While the current circumstances contradict this, Phillip is genuinely a good person even though | know, he
himself, at this point in time is questioning his worth as a human being. This has been heartbreaking for our
family and his true friends to witness, but on the other hand [’m sure all raw emotions and feelings anyone in his
situation experiences.

Phillip didn’t have a smooth childhood te say the least. Qur mom has been blind prior to Phillip being born due
to an unexpected health condition that left her without sight which means we didn’t get to experience a whole
lot of normal childhood experiences. Our circumstances required maturity at a young age, and even at times
when all odds were against him, Phillip out of all of us was the most positive, never gave my parents problems or
envied what other families had. ! want to say our moms disability kept us all grounded ina way. He was in his
last year of high school when our dad passed, a time when Phillip needed him most for guidance going into
adulthood. Since our dads passing, Phillip has been our moms closest friend, backbone, eyes, and given her
strength and security knowing he is there for her.

Everything about this case has been a learning experience. Phillip comes from a solid family with no criminal
history. tt truly is shocking to this very day I’m writing this letter to you when we as a family now associate Philip
with prison. Until this happened our immediate and extended family didn’t know much about prison nor the
emotional weight it has on a family when you're faced with being separated from a laved one for so long, the
sadness and subconscious void that lingers, knowing the potential future a person has. We’re now living this
everyday. When | think criminal, | think of a callous person, no compassion, a threat to society, violent and other
traits that do not describe Phillip. He is extremely smart, compassionate, hard-working, has career goals, and has
a close bond with each one of his sisters and mom. Phillip’s network of closest friends continue to stay in touch,
visit my mom and reach out to myself and sisters regularly and that speaks volumes. These are guys he’s been
friends with since elementary school which speak to his loyalty. He’s always been known as the guy you can call
in trying times and they all know this. Phillip is also an amazing uncle to his nephews and nieces and has touched
so many lives with just being him. | can honestly say a part of us is truly missing without him here. | didn’t realize
how much of an impact this whole thing would have on my kids, 10 and 7, but there hasn’t been a day where
they haven't asked or bring up uncle Phillip, talk about how they miss him or when they are going to see him
again.

Phillip has always been determined and driven and when he sets goals he achieves. He Hiterally as a child walked
to church on his own or went with his friend's families because we didn’t have a car at times and even started
working in high school to try and provide for my mom. He’s always wanted to make me and my mom happy and
proud of him. Ail along I’ve always told him being you is all we need by staying true to yourself, He has a good
heart and head on his shoulders but like a lot of young adults Phillip went through a period where he needed to
find his identity and HE DID. He’s always had a job but about 3 years back my husband connected him with the
union and he just took off. He worked full time, went to school and was moving up the ranks in the plumbing
union. He continued to do so while on bond as well. He’s always been a good student, earned A’s in his courses
and received a promotion recently. He’s not perfect but not remotely close to what he may 06 portrayed as, |
promise.
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The remorse Phillip has for the situation he’s in Judge Kendall is evident with every conversation i've had with
my brother. Anyone you ask that knows Phillip would have never once imagined his fate would lead to
anywhere near the position he’s in today.

This situation has humbled our family already, in so many ways especially Phillip, your honor. While he would
probably tell you on some rough days that he is ashamed of himself being locked ina prison cell and a
disappointment, | can tell you with confidence that he would not let you down if given a second chance. My
worst fear is that my full of life, confident, driven brother loses his identity. He has a bright future ahead if
afforded the opportunity. It takes situations like this to manifest a better you and Phillip is capable of proving he
would not pose a threat to society or make any choices that would jeopardize his freedom when the day comes.
Please have mercy on him. He will not fail you,

| thank you for your consideration.

Sincerely, ee

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vette Zelaya
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July 10, 2018

Joe Morales
1252 N. Citrus Ave # 1
Covina, CA 91722

Your Honor,

My name is Joe Morales, cousin to Phillip Diaz. Iam 10 years older and have been in Phillips life
since he was born (28 years). When I first heard of his arrest I was in shock. In all the time I have known
him he always been the reasonable one. I don’t know why he went down this path, but he had a bumpy
start to say the least. Phillips mother lost her vision before he was born, and she has never set eyes on
him. His father who cared and took care of the family passed away when he was 17. He was left to be
the man of the house. Phillip lived with his three sisters until two were married and moved out. When
Phillip graduated he picked up any kind of work he could to help support his mother and younger sister.

I have always been amazed on how well he took care of his mother. He was his mother’s eyes for
everyday situations. There were many sacrifices he made but never thought twice about his decisions to
help. He was not able to do the things most kids were able to do or have the things they had, but Phillip
always remained positive. He never took life for granted and did not see all the negative barriers that
were around hin.

They grew up in not the greatest neighborhood and may have been introduced to some toxic
surroundings. Phillip being an easy going and a likeable guy was most likely manipulated by his
environment, Not having a father figure at the age that mattered most really affected his choices at some
points. I truly feel that if there was a more supportive male figure close by he would not be in the
situation today. In the time Pve known him. he had never committed any crime. The company he kept at
one point could not say the same, but he remained straight.

Knowing Phillips character and the love he has for his family I feel he has learned from his
mistake and would not put himself in that kind of predicament ever again. I don’t see him making those
choices that would threaten his freedoms. I know he wants to be there for his mother and family. He can
never take back what he has done but can learn from it, if you give him the opportunity to show you that

he is a good person who will not go down the same path again, he will not let you down.

Sincerely,

ZAM

Joe Morales
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July O7, 2018
Virginia M. Kendall
United Sates District Judge

RE: Phillip Alberto Diaz
Dear Judge Kendall

My Name is Yesenia Otilia Perez-Juarez am writing you today on
behalf of Phillip Alberto Diaz, who scheduled to appear in your
court for sentencing on July 20,2018.

I’ve developed a sincere friendship with Phillip throughout 4
years and we recently began dating 2 years ago now. We
encountered each other by friends in common and have become
family maintaining a positive perspective through good and bad
situations. Phillip is an only son out of 4 siblings total, he
was born in Hesperia and raised in city of Paramount located in
California. Phillip lost his father at 16 years old due to
health conditions his father suffered from, and his mother is
visually impaired. He graduated from Alondra Middle School, and
then soon from Paramount High school. Employment as a Plumber
Apprentice for the union. While having stable employment Phillip
began to attend night classes and trainings to further expand
his opportunities and tasks with current employment. Phillip in
need to provide for his mother always seeking out to grow in his
employment as for higher responsibilities offered more pay per
hour. His character and personality are driven around his family
and loved ones. He is very caring and selfless human being who
puts everyone else feelings and needs before his own. Phillip is
very determined to anything he sets his mind to and achieve
goals he sets to meet. He continuously demonstrates
unconditional love and support to his family ag a whole
including myself. He remains a positive outlook regardless of
how tough situations can get and doesn’t give up because the
true and real failure in life is when we fail to even try.
Sometimes as human beings that make mistakes we need an
opportunity to be a better person than the person we were
yesterday or in the past. The chance to give back to a community
that saw him grow up and for him to return the support and love
his family and myself have given him with full hands.

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July 3, 2018

To Whom It May Concern,

My name is Kristina Del Rio and I am writing this letter in the hopes that it will help you
to see what kind of person Phillip Diaz is.

I have known Phillip as a friend for over 10 years. Phillip is a loyal, kind hearted person
with a good head on his shoulders. He is a person of good moral character and is always
concerned about his mom’s well-being as well as his sister and nieces & nephews. I have
seen him go through difficulties, but all the while I have been convinced that he is a good
person at the core. Phillip has always been one call away when my family has needed his
help. There aren’t many people like Phillip and that is why I consider him a dear friend.

Phillip is not perfect and has made mistakes, but I know that if given the opportunity, he
will take it on full stride and turn his life around in a positive way. He has already shown
an example of this by furthering on in his career, attending school and becoming a
Plumbing Apprentice.

I hope you will recognize the power you wield with regard to the future of this man and
make a fair decision. Thank you in advance for your help and support to Phillip in this
important time.

Sincergly,).,
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Kristina Del Rio
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JAS AE,
aw 8

+S Los Angeles METROPOLITAN PLUMBERS

JOINT APPRENTICESHIP COMMITTEE

Teo

vw A. c-

July 2, 2108

To Whom It May Concern:

This correspondence is sent on behalf of Brother Phillip A, Diaz and Local 78
Apprentice Plumber.

Brother Diaz. was initiated into the Union on December 7, 2015 as an Apprentice
Plumber. He currently attends his classroom studies in Gardena/Compton. By
the end of his apprenticeship program he would have completed a minimum of
1,080 classroom hours. While receiving training in the classroom, he will
complete 7500 on-the-job work hours and the other requirements of the Los
Angeles Metropolitan Plumbers Joint Apprenticeship Committee in order to
become a licensed Journeyman Plumber.

Brother Diaz has been consistently employed throughout his career. He is
becoming proficient at all disciplines of our trade and has been an exemplary
employee. He has also maintained current and is in good standings with his
tesponsibilities to Local 78.

If you have any questions, please call 213/688-9090,

Fraternally,

Douglas A. Marian
Local 78 Business Manager

DAM/cc/opeiu#537/all-cie

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Somerset High School

This Certifies That
Whillip Albert Biax
has completed the Course of Study prescribed
by the Board of Hiucation of the Bellflower Unified School Bistrict
for graduation from this School and is therefore granted this
Biploma

Given xt Bellflower, California, this mouth of June,
in the year of our Bord thm tousand and nine.

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President of the Board of Education

Case: 1:15-cr-00485 Document #: 481 Filed: 07/17/18 Page 9 of 10 PagelD #:4304

DRIVER BENEFITS INC. ad
SANTA FE BUSINESS PARK Tage a kad inl
2370 WEST CARSON STREET, SUITE 150
TORRANCE, CALIFORNIA 80501
TELEPHONE (810) 320-9550

January 7, 2017

SAN BERNARDINO COUNTY SUPERIOR COURT
Rancho Cucamonga District

8303 Haven Avenue

Rancho Cucamonga, California 91730

In re: People vs. Diaz
Case Number: TWV 1501390
Dear Judge:

Mr. Phillip Diaz was re-evaluated/re-accepted for participation in our AB541
Alcohol/ Drug Education and Treatment Program on December 31, 2016.

Mr. Diaz’ curriculum has included completion of our 15-Hour Alcohol/Drug Awareness
classes, all of the 10 weekly Rap Group sessions, 3 of the 6 required self-help meetings,
and case management conferences once a month. Mr. Diaz demonstrated satisfactory
attendance and participation during his involvement. Mr. Diaz exhibits satisfactory
progress on our program and relates a successful abstinence from alcohol during his
involvement. Mr. Diaz maintains a positive attitude towards treatment and willingly
participates in the self-examination process. We look forward to continued progress
from Mr. Diaz.

We therefore request that Mr. Diaz be permitted to continue his involvement in our
program and his curriculum for the next two months will include:

1. Attendance at 3 self-help meetings; and,
2. Case management conference once a month.

This period will extend two months. Therefore, if acceptable with the court, Mr. Diaz’
case should be continued to a date certain, two months from the date of court approval.

If I can be of further assistance, please do not hesitate to call.

(ep (th Lt

oe J. WICKLINE, B.S., C.A.D.C., C.S.C.
Executive Director
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DRIVER BENEFITS INC.
SANTA FE BUSINESS PARK
2370 WEST CARSON STREET, SUITE 150
TORRANCE, CALIFORNIA 90501
TELEPHONE (310) 320-9550
NAME AND ADDRESS OF COURT: FOR COURT USE ONLY

SAN BERNARDINO COUNTY DISTRICT SUPERIOR
RANCHO CUCAMONGA DISTRICT

8303 HAVEN AVENUE

RANCHO CUCAMONGA, CA. 91730

NAME OF DEFENDANT:

PHILLIP DIAZ
164464 INDIANA AVENUE
PARAMOUNT, CA. 90723

STREET ADDRESS:

CITY AND ZIP CODE:
DATE OF COURT ORDER:

(Check one)
5B1176 Aps41_ %%X——aB762 AB1353
(Wet Reckless) (3 Month) (6 Month) {9 Month) CASE NUMBER:

TWV1501390

XX PROOF OF COMPLETION OF ALCOHOL OR DRUG TREATMENT PROGRAM

DESCRIPTION OF ALCOHOL OR DRUG TREATMENT PROGRAM

Name of Program: DRIVER BENEFITS, INCORPORATED

Address of Program: 2370 West Carson Street, #150, Torrance, CA 90501

Program License Number: 19-024-01-123 Program Telephone Number: 310-320-9550

PROOF OF COMPLETION

Defendant (Name): PHILLIP DIAZ successfully completed the Alcohol or Drug

Education Treatment Program described above on (specify date of completion): j-2-/7

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

Date: ¥.9./ a

PHILLIP DIAZ re . oa Nee
(TYPE OR PRINT NAME) (“ —__(SIGNATURE-OF DEFENDANT) ND
Date: S-2-/ 7 - / 4 os (3
: . ee seh Chee ~
DAVID ACOSTA, C.A.D.C L “Yiee Bu oo Y
INTAKE COUNSELOR (SIGNATURE OF INTAKE COUNSELOR)
YOU NEED TWO OF THESE FORMS: INSTRUCTIONS

1. UPON ENROLLMENT IN A COURT-ORDERED ALCOHOL OR DRUG EDUCATION PROGRAM, FILL OUT THE PROOF OF ENROLLMENT
FORM AND FURNISH IT TO THE SENTENCING COURT WITHIN THE TIME AND IN THE MANNER SPECIFIED BY THE COURT.

2. UPON SUCCESSFUL COMPLETION OF THE PROGRAM, FILL OUT THE PROOF OF COMPLETION FORM AND FURNISH IT TO THE
SENTENCING COURT WITHIN THE TIME AND IN THE MANNER SPECIFIED BY THE COURT. FAILURE TO COMPLY WITH THESE
REQUIREMENTS MAY RESULT IN THE REVOCATION OF YOUR PROBATION.

